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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:12−cr−01004
                                                         Honorable Robert M. Dow Jr.
Paul Madison, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 13, 2020:


         MINUTE entry before the Honorable Robert M. Dow, Jr: Defendant's motion for
leave to file correct reply document [226] is granted. Notice of motion date of 1/14/2020
is stricken and no appearances are necessary on that date. Mailed notice (cdh, )




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